                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT WINCHESTER

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 4:06-cr-6
vs.                                                  )
                                                     )       JUDGE COLLIER
JOEL FERNANDEZ-VARGAS                                )       MAGISTRATE JUDGE CARTER
NICHOLAS HERNANDEZ                                   )
JOSE VARGAS                                          )
SANTOS SOLIS, JR.                                    )
RAMIRO ONOFRE                                        )
OSWALDO SOLIS                                        )
FRANCISCO JAVIER FERNANDEZ                           )
MARK DALTON                                          )
TIMOTHY HARRIS                                       )
HUGO AMARO                                           )
OSCAR ALEJANDRO MELGOZA                              )
SHANNON PROSSER                                      )

                              MEMORANDUM & ORDER
                            ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment
of the above named defendants on the indictment returned by the Grand Jury was held before the
undersigned on March 23, 2006.

       Those present for the hearing included:

              (1) AUSA James Brooks for the USA.
              (2) The defendant, JOEL FERNANDEZ-VARGAS.
              (3) Atty. Rita LaLumia for defendant Fernandez-Vargas.
              (4) The defendant, NICHOLAS HERNANDEZ.
              (5) Atty. Howell Clements for defendant Hernandez.
              (6) The defendant JOSE VARGAS.
              (7) Atty. Bryan Hoss for defendant Jose Vargas.
              (8) The defendant SANTOS SOLIS, JR.
              (9) Atty. Joe Hoffer for defendant Santos Solis.
              (10) The defendant RAMIRO ONOFRE.
              (11) Atty. Lee Ortwein for defendant Onofre.
              (12) The defendant, OSWALDO SOLIS.
              (13) Atty. Paul Bergmann for defendant Oswaldo Solis.
              (14) The defendant, FRANCISCO JAVIER FERNANDEZ.

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               (15) Atty. Robert Philyaw for defendant Fernandez.
               (16) The defendant MARK DALTON.
               (17) Atty. Ashley Ownby for defendant Dalton.
               (18) The defendant TIMOTHY HARRIS.
               (19) Atty. Fielding Atchley for defendant Harris.
               (20) The defendant HUGO AMARO.
               (21) Atty. Stephen Goldstein for defendant Amaro.
               (22) The defendant OSCAR ALEJANDRO MELGOZA.
               (23) Atty. Chris Lanier for defendant Melgoza.
               (24) The defendant SHANNON PROSSER.
               (25) Atty. Jerry Sloan for defendant Prosser.
               (26) Courtroom Deputy Pam Scott.
               (27) Spanish Interpreters Judith Kristy and Myra Gann.
               (28) Court Reporter Bridgette Law.

        After being sworn in due form of law the defendants were informed or reminded of their
privilege against self-incrimination accorded them under the 5th Amendment to the United
States Constitution.

       It was determined the persons present were the defendants named as defendants in the
indictment. Each of the defendants acknowledged having been provided with a copy of the
indictment and having the opportunity of reviewing the indictment with their respective
attorneys.

       Each of the defendants waived a formal reading in open court of the indictment and
entered pleas of not guilty or no plea to all counts charging them with criminal offenses.

      Presently, the cases are assigned the dates set forth in a separate Discovery and
Scheduling Order.

       ENTER.
                                             s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




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